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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

ROBERT J. WILLIAMS,

      Plaintiff,

v.                                           Case No.:

GLOBAL CONNECTIONS, INC.
d/b/a BAMBOO BEACH CLUB
RESORT,

     Defendant.
_________________________________/

              COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff Robert J. Williams, by and through undersigned counsel, herby sues

Global Connections, Inc. d/b/a Bamboo Beach Club Resort (“Defendant”) and in

support of states as follows:

                                NATURE OF ACTION

1.    This is an action for monetary damages, costs, and reasonable attorney’s fees

to redress Defendant’s violations of Plaintiff’s rights under the Americans with

Disabilities Act, as amended, 42 U.S.C. § 12101 et. seq. (“ADAAA”).

                         JURISDICTION AND VENUE

2.    This Court has jurisdiction of the claims herein pursuant to 28 U.S.C. §§ 1331

and 1343, as this action involves federal questions regarding the deprivation of

Plaintiff’s rights under the ADAAA.
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3.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to this action, including the

unlawful employment practices alleged herein, occurred in this district.

                                      PARTIES

4.    Plaintiff is a resident of Pinellas County, Florida.

5.    Plaintiff worked for Defendant in Pinellas County, Florida.

6.    Defendant is a Foreign Profit Corporation.

7.    At all times mentioned herein, before and after, the persons responsible for

perpetrating discriminatory actions against Plaintiff were agents, servants, and

employees of Defendant and were at all times acting within the scope and course of

their agency and employment, and/or the actions were expressly authorized by

Defendant and/or their actions were ratified by Defendant, thus making Defendant

liable for said actions.

8.    Plaintiff is considered an “employee” within the meaning of the ADAAA, 42

U.S.C. § 12101, et. seq.

9.    Defendant is considered an “employer” within the meaning of the ADAAA,

42 U.S.C. § 12101, et. seq., and the FMLA, 29 U.S.C. § 2601, et. seq.

10.   Plaintiff is “disabled” as defined by the ADAAA.

11.   Defendant knew of Plaintiff’s disability during his employment.




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12.     Plaintiff is a “qualified individual” as defined by the ADAAA during his

employment with Defendant.

                        PROEDURAL REQUIREMENTS

13.     Plaintiff timely dual-filed a charge of discrimination against Defendant with

the Florida Commission on Human Relations (“FCHR”) and the Equal Employment

Opportunity Commission (“EEOC”) on or about April 15, 2020.

14.     The EEOC issued a “Dismissal and Notice of Rights” letter on or about April

07, 2021 authorizing an action to be commenced within ninety (90) days of receipt

of that letter.

15.     This complaint was filed within ninety (90) days of receipt of the “Dismissal

and Notice of Rights” letter.

                                STATEMENT OF FACTS

16.     Plaintiff began his employment with the Defendant on or about April 15,

2019.

17.     In or around early October 2019, Plaintiff’s supervisor, Jane Rodriguez (“Ms.

Rodriguez”) commended Plaintiff on his work with Defendant.

18.     On or about October 18, 2019, Plaintiff informed Ms. Rodriguez that during

a doctor’s appointment the previous day he was diagnosed with cancer and required

surgery.




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19.      On or about October 24, 2019, Plaintiff had surgery and his doctor told him

to take two weeks of leave to recover from the surgery.

20.      Plaintiff’s cancer and surgery limited his ability to stand.

21.      Plaintiff subsequently telephoned Ms. Rodriguez and requested two weeks of

leave from Defendant as a reasonable accommodation under the ADAAA.

22.      Plaintiff then took the two weeks leave and returned to work on or about

November 11, 2019 and provided Mr. Rodriguez with the requested medical

documentation.

23.      On or about December 2, 2019, shortly after Plaintiff returned from leave, Ms.

Rodriguez informed Plaintiff that he was being terminated.

24.      Defendant had taken no disciplinary action(s) against Plaintiff prior to

termination.

25.      Ms. Rodriguez gave no explanation.

26.      Plaintiff has satisfied all conditions precedent, or they have been waived.

27.      Plaintiff has retained the undersigned the undersigned attorney and agreed to

pay him a fee.

                                CLAIMS FOR RELIEF

                Count I – Discrimination in violation of the ADAAA

      1. All allegations prior to Count I are reallaged and incorporated herein.

      2. Plaintiff requested leave as an accommodation due to his own disability.


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   3. After Plaintiff requested an accommodation, he was terminated shortly

thereafter.

   4. Defendant terminated Plaintiff because of his disability.

   5. Defendant’s discharge of Plaintiff because of his disability constitutes

discrimination against Plaintiff with respect to the terms, privileges, conditions of

his employment.

   6. As a direct and proximate cause of Defendant’s unlawful termination of

Plaintiff, Plaintiff has been damaged and is entitled to relief set forth in the Prayer

for Relief below.

                             PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests:

   (a) That process issue and that this Court take jurisdiction over the case;

   (b) Judgement against Defendant in the amount of Plaintiff’s back wages and

back benefits, front-pay, compensatory damages, including emotional distress

damages, in an amount to be proved at trial, liquidated damages, punitive damages,

and prejudgment interest thereon;

   (c) All costs and reasonable attorney’s fees in litigating this matter (including

expert fees); and

   (d) For such further relief as this Court deems just and equitable.

                                 JURY DEMAND


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Plaintiff hereby requests a trial by jury on all triable issues herein.

Respectfully submitted this 24th day of June, 2021 by:

                                                 /s/ Jason B. Woodside
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